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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE NORTHERN DISTRICT OF ILLINOIS

                                     EASTERN DIVISION



KIMBERLY LOPEZ,                                            )
                                                                    Case No. 1:25-cv-00457
        Plaintiff(s),                                      )
                                                                    Judge John J. Tharp, Jr.
v.                                                         )
ILLINOIS DEPARTMENT OF HEALTHCARE
                                                           )
AND FAMILY SERVICES, et al.,
                                                           )
        Defendant(s).
                                                           )


 EXHIBITS FOR SERVICE MADE TO DEFENDANTS SERVED BY U.S. MARSHALS

        Exhibit 1 - The following parties were served via Certified Mail by the United States

Marshals Service pursuant to the Court’s January 2025 IFP Order (Dkt. 5):


     1. Illinois Department of Healthcare and Family Services (IDHFS)

     2. Illinois Department of Children and Family Services (IDCFS)

     3. Camille Lindsay, IDFPR Acting Director

     4. Mario Treto, Jr., IDFPR Acting Secretary

     5. Heidi Mueller, IDCFS Director

     6. Kwame Raoul, Attorney General of Illinois




        Exhibit 2 - Proof of Service Envelopes
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                                                            Respectfully submitted,


                                                                /s/ Kimberly Lopez

                                                                   Kimberly Lopez

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